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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                    )    Chapter 11
In re:                                              )
                                                    )    Case No. 23-11131 (TMH)
                                                    )
AMYRIS, INC. et al,                                 )    (Jointly Administered)
                                                    )
                          Debtors.1                 )
                                                    )
                                                    )    Re: Docket Nos. 525 & 826
                                                    )
                                                    )

            OBJECTION AND RESERVATION OF RIGHTS OF AD HOC
        CROSS-HOLDER GROUP TO DEBTORS’ MOTION FOR AN ORDER
       (I) APPROVING THE DISCLOSURE STATEMENT, (II) SCHEDULING
     CONFIRMATION HEARING, (III) APPROVING FORM AND MANNER OF
  NOTICE OF CONFIRMATION HEARING, (IV) ESTABLISHING PROCEDURES
FOR SOLICITATION AND TABULATION OF VOTES TO ACCEPT OR REJECT THE
 PLAN, (V) APPROVING FORM AND MANNER OF NOTICE OF PLAN RELEASES,
 (VI) ESTABLISHING DEADLINE AND PROCEDURES FOR FILING OBJECTIONS
    TO CONFIRMATION OF PLAN, AND (VII) GRANTING RELATED RELIEF

         The ad hoc group (the “Ad Hoc Cross-Holder Group”) of certain unaffiliated (a) holders

of notes or other indebtedness issued under that certain Indenture, dated as of November 15,

2021 pursuant to which Amyris, Inc. issued certain 1.50% Convertible Senior Notes Due 2026

and/or (b) shareholders of Amyris, Inc., as identified on that certain Verified Statement of Ad Hoc

Cross-Holder Group Pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure

[Docket No. 397], as the same may be amended or supplemented from time to time, by and

through its undersigned counsel, hereby files this Objection (the “Objection”) and Reservation of

Rights to the Debtors’ Motion for an Order (I) Approving the Disclosure Statement, (II)


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  A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris, Inc.’s
principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
100, Emeryville, CA 94608.



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Scheduling Confirmation Hearing, (III) Approving Form and Manner of Notice of Confirmation

Hearing, (IV) Establishing Procedures for Solicitation and Tabulation of Votes to Accept or

Reject the Plan, (V) Approving Form and Manner of Notice of Plan Releases, (VI) Establishing

Deadline and Procedures for Filing Objections to Confirmation of Plan, and (VI) Granting

Related Relief [Docket No. 525] (the “Solicitation Procedures Motion”) filed in the above-

captioned cases jointly administered under Case No. 23-11131 (the “Chapter 11 Cases”) in

connection with the Second Amended Joint Chapter 11 Plan of Reorganization of Amyris, Inc.

and Its Affiliated Debtors [Docket No. 826-1] (the “Plan”)2 and the Second Amended Disclosure

Statement with Respect to Joint Chapter 11 Plan of Reorganization of Amyris Inc., and Its

Affiliated Debtors [Docket No. 826-2] (the “Disclosure Statement”) and in support thereof states

as follows:

                                                 OBJECTION

        1.       The Ad Hoc Cross-Holder Group understands the need to move the plan process

forward.      The Ad Hoc Cross-Holder Group also recognizes and applauds the two other

committees in obtaining the improved and better treatment of unsecured creditors. The self-

imposed liquidity constraints and desire to move valuable assets to the insider DIP Lender,

however, does not give the Debtors a mandate to short-circuit the creditor protections afforded

by the Bankruptcy Code.              Given the self-created accelerated confirmation process and

compressed schedule, the Ad Hoc Cross-Holder Group has only had a few days to review,

analyze and discuss the Disclosure Statement and Plan. Based upon a preliminary review, the

Plan seems to contain certain infirmities and defects that would render it unconfirmable. The Ad

Hoc Cross-Holder Group reserves all rights with respect to those issues and will continue its


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  Capitalized terms used but not defined herein shall have the meanings ascribed to them in Plan, and if not defined
there, then the meaning ascribed to them in the Solicitation Procedures Motion.
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dialogue with the Debtors to address them with the goal of obtaining a negotiated resolution in

advance of confirmation.

        2.      Since the Disclosure Statement and Plan were filed two days ago, the Ad Hoc

Cross-Holder Group has been engaged with the Debtors about the recent developments and has

also raised its issues and concerns about the Disclosure Statement. Though no agreement was

reached in advance of filing this Objection, the Ad Hoc Cross-Holder Group and the Debtors

continue to discuss proposed resolutions about disclosures in advance of the hearing. The Ad

Hoc Cross-Holder Group has a high degree of confidence that most, if not all, disclosure

statement objections can be resolved prior to the hearing.

        3.      The Disclosure Statement omits core information that must be disclosed before

the Debtors are permitted to solicit votes for the Plan. In order to make an informed judgment

about a plan that delivers the company’s assets to an insider and releases numerous insiders from

estate and third-party claims, creditors and other stakeholders require details about the value of

those assets and claims. The Debtors have not performed a market test of the proposed plan

transaction and it is unclear whether they intend to do so in connection with confirmation. The

Debtors have provided zero information about the claims being released or the alleged

investigations performed into the claims. The notion of soliciting votes for a plan based on

secret investigations, the results of which have been withheld from creditors and other

stakeholders, is antithetical to the letter and spirt of Section 1125 of the Bankruptcy Code.

        4.      By their own admission, the Debtors’ sale of their Consumer Brands assets was an

unmitigated disaster. The projected $250+ million in sale proceeds to fund a plan turned out to

be less than $30 million. This stunning turn of event raises serious questions into what went

wrong and how the company could fail in such spectacular fashion compared to the expectations


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set just a few months ago. No plausible explanation is provided in the Disclosure Statement. In

these circumstances in particular, disclosure is paramount. While the Disclosure Statement and

Plan have been updated to reflect these results and a proposed settlement and release of various

estate and third-party claims and causes of action, the accompanying disclosures fall well short

of what a party-in-interest requires to make an informed decision about the Plan.

        5.      First, the Disclosure Statement still contains no meaningful information about the

estate claims and causes of action being released or the results of the alleged multiple

investigations examining them. With respect to the Debtors’ alleged independent investigation,

the Debtors claim that Mr. Reiss has produced a secret report shared only with the Creditors’

Committee and one new “independent director.” There is no additional color on the nature or

findings in the report. In fact, the Debtors claim that such investigation is ongoing but they

nevertheless determined to release the claims under the original plan months ago. It is unclear

who made that decision on behalf of the Debtors.             What is clear is that the so-called

“independent report” carries no real weight so long as it remains secret and subject to a tainted

process. Without the disclosure of the contents of the report, the process has the appearance of

lacking integrity and openness. In order to protect integrity, comply with the Bankruptcy Code’s

requirements and avoid selective and incomplete disclosure of information, the Debtors should

incorporate the report into the Disclosure Statement. The Debtors should also be required to file

a supplement when the investigation is completed, which should happen in advance of the voting

deadline.

        6.      The Disclosure Statement only briefly mentions the Committee’s investigation

and agreement to reach a settlement of estate claims. It contains no description of the findings,

the nature of the claims, or an explanation of the risks and benefits of settling that would permit a


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stakeholder to make an informed decision about the Plan. The Ad Hoc Noteholder Committee’s

investigation has likewise been kept secret from voting stakeholders. Passing references to

issues considered and documents produced is not adequate disclosure within the meaning of

Section 1125. In order to consider the settlement of estate claims and causes of action and vote

on whether to accept the Plan, stakeholders must, at a minimum, have an understanding of the

claims, their strengths and weaknesses and the potential recoveries.3                      In re Oneida Motor

Freight, Inc., 848 F.2d 414, 417 (3d Cir. 1988) (“The importance of full disclosure is underlaid

by the reliance placed upon the disclosure statement by the creditors and the court. Given this

reliance, we cannot overemphasize the debtor’s obligation to provide sufficient data to satisfy the

Code standard of ‘adequate information.’”); In re Lower Bucks Hosp., 488 B.R. 303, 321 (Bankr.

E.D. Pa. 2013), aff’d 571 Fed. App’x 139 (3d Cir. 2014) (denying approval of disclosure

statement because it “did not provide . . . information about the merits or value of the potential

claims . . . or the class action that they would be relinquishing.”).

         7.       Second, the Disclosure Statement contains inadequate information about how the

Debtors propose to meet the difficult standard for obtaining the controversial non-consensual

Third Party Releases. In order to make an informed decision about voting and potentially opting

out of the Third-Party Release, stakeholders need to understand the standard applied under the

Third Circuit and how the Debtors plan to meet their burden. Currently the Disclosure Statement

is not clear about who specifically is receiving a Third-Party Release and how much each

Released Party is contributing to the reorganization. It appears, however, that parties obtaining

the Third-Party Releases extend well beyond Foris and the DIP Lenders (the only two entities


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  The First Amended Plan conjectured that the “recoveries from Causes of Action against D&Os and Avoidance
Actions” could be “in the range of $25 - $35 million,” but provides no elaboration or explanation of this figure. This
language was then removed from the Second Amended Disclosure Statement.

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providing any consideration).4 Nor is there any explanation why such releases are necessary to

the reorganization or who made the decision to authorize them. Without more information,

stakeholders cannot make a decision on whether to support or oppose the Plan or to opt out.

         8.       Third, the Disclosure Statement contains no information about the market testing

process for the Other Assets, including the intellectual property and R&D assets upon which the

Debtors plan to reorganize. Instead, the insiders who developed the Plan and who are now

charged with prosecuting it, are handing themselves all of the value of the Reorganized Debtors

and giving themselves sole discretion to determine whether to explore any alternatives. There is

also no discussion as to going concern value of those assets. Delaware law and applicable

Bankruptcy law require a higher level of scrutiny when insiders are in control and obtaining

control of the Reorganized Debtors. See, e.g., In re Winstar Comm’s, Inc., 554 F.3d 382, 396 (3d

Cir. 2009) (lender’s ability to coerce debtor’s activities constituted insider status requiring

heightened scrutiny of transactions between insider and debtor); In re TSIC, Inc., 428 B.R. 103,

111 (Bankr. D. Del. 2010) (“An insider is any person or entity whose relationship with a debtor

is sufficiently close that any transactions between them ought to be subjected to closer scrutiny

than those occurring at arms’ length.”). The Debtors’ lack of disclosure and failure to market the

Other Assets is problematic and will be an issue at confirmation.

         9.       Finally, in connection with the confirmation schedule, the Ad Hoc Cross-Holder

Group is working with the Debtors to come up with a workable schedule to engage in Plan-



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  The list includes, but is not limited to, the Consenting Convertible Noteholders, the Ad Hoc Group Professionals,
the Consenting Contract Counterparties, and all of their current or former directors, managers, officers, shareholders,
investment committee members, special committee members, equity holders (regardless of whether such interests
are held directly or indirectly), affiliated investment funds or investment vehicles, predecessors, participants,
successors, assigns, subsidiaries, current, former, and future associated entities, managed or advised entities,
accounts, or funds, Affiliates, partners, limited partners, general partners, principals, members, management
companies, fund advisors or managers, fiduciaries, employees, agents, trustees, advisory board members, financial
advisors, attorneys, accountants, investment bankers, consultants, other representatives, restructuring advisors, and
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related discovery and ensure a fair and fulsome confirmation hearing in the proposed compressed

timeframe. If consensus is not achieved, the Cross-Holder Group will address specific issues

before the Court at the hearing.

        10.      The Ad Cross-Holder Group remains hopeful the issues can be resolved in

advance of the hearing and will also continue to work with all stakeholders to reach a global

resolution of the confirmation issues in advance of confirmation.

                                     RESERVATION OF RIGHTS

        11.      The Ad Hoc Cross-Holder Group reserves its rights to supplement or amend this

Objection to further address or object to the Solicitation Procedures Motion, and any related

matter and to respond to any response or objection either by further submissions to this Court, at

oral argument, or by testimony to be presented at any hearing. The Ad Hoc Cross-Holder Group

further reserves all of its rights with respect to confirmation of the Plan, including the right to

assert any and all objections to confirmation at the appropriate time, whether or not such

objections are set forth herein, and the right to seek appropriate relief in connection with any

Plan confirmation proceedings or otherwise.

                                              CONCLUSION

        12.      For the above reasons, the Ad Hoc Cross-Holder Group respectfully asks that the

Court require the Debtors to make the modifications requested herein as a condition to approval

the adequacy of the Disclosure Statement.



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other professionals and advisors, and any such person’s or Entity’s respective predecessors, successors, assigns,
heirs, executors, estates, and nominees. See Plan at Article I.A. 172, 174,
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Dated: December 8, 2023
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